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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                        Case No. 1:08-MD-01928-MIDDLEBROOKS/JOHNSON

   IN RE TRASYLOL PRODUCTS LIABILITY
   LITIGATION – MDL-1928

   THIS DOCUMENT RELATES TO:

   BAKER V. BAYER A.G., et al
   Case No. 08-cv-80595

                                     “SHORT FORM” COMPLAINT

          1.      Pursuant to Pretrial Order No. 4 in MDL 1928, Plaintiff(s), by the undersigned

   counsel, hereby submits this “Short Form” Complaint against Defendants BAYER

   CORPORATION, BAYER HEALTHCARE PHARMACEUTICALS INC., and BAYER

   HEALTHCARE A.G. (hereinafter collectively “Defendants” or “Bayer”) for equitable relief,

   monetary restitution, and/or compensatory and punitive damages, and, adopts and incorporates

   by reference those allegations in the “Plaintiffs’ Master Complaint for Personal Injury Claims,”

   filed June 16, 2008, contained in Paragraphs 1 through 52, and any and all amendments thereto,

   and further alleges as follows.

          2.      Plaintiffs who are parties to this civil action are identified as follows:

                  (1)      Plaintiff Decedent GERALD BAKER was a citizen and resident of

                           Rockdale County in the State of Georgia, and claims damages as set forth

                           below. Plaintiff Decedent died on January 16, 2007.

                  (2)      Plaintiff MARILISE BAKER is a citizen and resident of Rockdale County

                           in the State of Georgia.

          3.      Plaintiff(s) allege that, pursuant to 28 U.S.C. § 1391, the following District is the

   proper venue for trial of this civil action: Northern District of Georgia, Atlanta Division.
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             4.         Plaintiff GERALD BAKER was administered Trasylol on August 29, 2006 at St.

   Joseph’s Hospital, in Atlanta, Georgia. As a result of his/her exposure to Trasylol, Plaintiff(s)

   suffered the following injuries:

                        Emotional injury, stress, anxiety, distress, fear, pain, and suffering;

                        Renal dysfunction and injury;

                        Renal failure requiring Plaintiff to undergo painful and debilitating medical
                        treatments;

                        Multi-organ failure requiring Plaintiff to undergo painful and debilitating medical
                        treatments;

                        Death;

                        Financial loss;

                        Loss of consortium, loss of companionship, loss of life’s enjoyment and mental
                        anguish, and other consequential damages caused by the injuries inflicted upon
                        Plaintiff;

                        Other:

             5.         Plaintiff(s) further adopt and incorporate by reference the following Claims for

   Relief in the “Plaintiffs’ Master Complaint” filed June 16, 2008:

                        COUNT I - STRICT LIABILITY - FAILURE–TO–WARN

                        COUNT II - STRICT LIABILITY – DESIGN DEFECT

                        COUNT III – NEGLIGENCE

                        COUNT IV - NEGLIGENCE PER SE

                        COUNT V – FRAUD, MISREPRESENTATION, AND SUPPRESSION

                        COUNT VI – CONSTRUCTIVE FRAUD

                        COUNT VII – BREACH OF IMPLIED WARRANTIES

                        COUNT VIII - UNFAIR AND DECEPTIVE TRADE PRACTICES

                        COUNT IX - UNJUST ENRICHMENT

                        COUNT X - LOSS OF CONSORTIUM

                        COUNT XI - WRONGFUL DEATH

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                        COUNT XII - SURVIVAL ACTION

                        COUNT XIII - GROSS NEGLIGENCE/MALICE

                        COUNT XIV – PUNITIVE DAMAGES

             6.         Plaintiff(s) request trial by jury.

             WHEREFORE, Plaintiff(s) request that the Court grant them the following relief against

   Defendants, Bayer Corporation, Bayer Healthcare Pharmaceuticals Inc., and Bayer Healthcare

   AG, jointly and severally, on all counts of this Complaint, including:

             (A)        Money Damages representing fair, just and reasonable compensation for their
                        respective common law and statutory claims;

             (B)        Punitive and/or Treble Damages pursuant to state law;

             (C)        Disgorgement of profits and restitution of all costs;

             (D)        Attorneys’ fees pursuant to state law;

             (E)        Pre-judgment and post-judgment interest as authorized by law on the judgments
                        which enter on Plaintiffs’ behalf;

             (F)        Costs of suit; and

             (G)        Such other relief as is deemed just and appropriate.


                                                                  THE PLAINTIFF(S),


                                                                  \s\
                                                                  Scott A. Love
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                                                                  W. Michael Moreland
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August _____, 2008, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on the following counsel of record in the manner specified, either via

   transmission of Notices of Electronic Filing generated by CM/ECF or by mailing the same to the

   offices of said counsel by United States mail, postage prepaid.



                                                        \s\
                                                        Scott A. Love

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   Bayer Healthcare LLC, Bayer AG, and Bayer         Healthcare AG
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                                                          Healthcare AG




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